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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 IEP Technologies, LLC,

                Plaintiff,

           v.                                              Civil Action No.
                                                           1:21-cv-10417-RWZ
 KPM Analytics, Incorporated f/k/a Statera Analytics
 Incorporated and KPM Analytics North America
 Corporation f/k/a Process Sensors Corporation,

                Defendants.



                   PLAINTIFF’S MOTION TO COMPEL DEFENDANTS’
                     RESPONSES TO REQUESTS FOR ADMISSION

       Pursuant to Federal Rule of Civil Procedure 36(a)(6) and Local Rules 7.1 and 37.1,

Plaintiff IEP Technologies, LLC, (“IEP” or “Plaintiff”), by its undersigned counsel, move the

court to compel Defendants KPM Analytics, Incorporated f/k/a Statera Analytics Incorporated

and KPM Analytics North America Corporation f/k/a Process Sensors Corporation (collectively

“KPM” or “Defendants”) to supplement their responses to Plaintiff’s First Set of Requests for

Admission, the grounds for which are more fully specified in the accompanying Memorandum of

Law and Declaration of Robert D. Keeler filed concurrently herewith.

       Pursuant to Local Rule 7.1(a)(2) the undersigned certifies that the parties have conferred

and have attempted in good faith to resolve or narrow the issues that are the subject of the instant

motion and are unable to come to a resolution.
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                          REQUEST FOR ORAL ARGUMENT

    Pursuant to Local Rule 7.1(d), Plaintiff respectfully requests oral argument.



Dated: January 21, 2022               Respectfully submitted,

                                      /s/ Robert D. Keeler
                                      Stephen F.W. Ball, Jr. (BBO # 670092)
                                      Robert D. Keeler (pro hac vice)
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                                      Attorneys for Plaintiff
                                      IEP Technologies, LLC




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                                 CERTIFICATE OF SERVICE

        This is to certify that on this 21st day of January, 2022, true and correct copies of the
foregoing PLAINTIFF’S MOTION TO COMPEL DEFENDANTS’ RESPONSES TO REQUESTS
FOR ADMISSION and accompanying documents were filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the court’s CM/ECF System.



January 21, 2022                                                       /s/ Robert D. Keeler
Date




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